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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF ARKANSAS
                           WESTERN DIVISION

GLORIA A. BUNCH                                                          PLAINTIFF

v.                         CASE NO. 4:13CV00360 BSM

KENNETH A. MARTIN et al.                                              DEFENDANTS

                                    JUDGMENT

      Consistent with the order entered this day, this case is hereby dismissed without

prejudice.

      IT IS SO ORDERED this 12th day of February 2014.


                                               ________________________________
                                               UNITED STATES DISTRICT JUDGE
